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                                              July 23, 2019


Honorable Judge Matthew Brann
Middle District of Pennsylvania
U.S. Courthouse and Federal Office Building
240 West Third Street
Williamsport, PA 17701

Via ECF Filing

       Re:    John Doe v. The Pennsylvania State University
              Docket No. 4:19-CV-1234

Dear Judge Brann:

       I write to confirm that the parties in the above captioned matter reached an agreement to
reschedule the disciplinary hearing previously listed for today. No new date has been set for the
hearing.

                                              Very truly yours,



                                              Andrew Shubin
                                              Attorney at Law

AJS:ek
Cc:    James Keller, Esq (Via ECF Service)
